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                                                                                            13th January 2021




  Dear Sirs,

  Re: Spanish into Englsih Certified Translation

  Language Reach Limited is a UK-registered professional translation and interpreting
  company and a fully qualified registered member of The Association of Translation
  Companies (Member No. 2018ATCR1238). We hereby confirm that we have
  translated the enclosed document(s) from Spanish into English

  As a responsible translation agency we only employ certified linguists to work with
  us. We are satisfied with the linguistic accuracy and hereby confirm that the English
  written translation of the Spanish document(s) represents its fair and accurate
  linguistic message as intended in the original file(s).

  We hereby confirm that this is a true and correct translation and certify the linguistic
  accuracy.

  For more information, please contact Language Reach Limited on +44 (0) 208 677
  3775.

  Yours sincerely,




  Aniello Attianese
  Senior Account Manager




        Registered in England & Wales 07635166 Tel: +44 (0) 208 677 3775 Email: info@languagereach.com    13/01/2021
                           Address: Unit F11B, Parkhall Business Centre, London, SE21 8EN
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    (LOGO)                                   (Arabic writing - In the name of Allah)
    Embassy of the
    Islamic Republic of Iran
    Caracas                                  (Stamp) Bolivarian Republic of Venezuela –
                                             Office of the Ministry of Popular Power for Foreign Relations.




                                                  Note Verbale
                                                                                             No. 610 / 458732


            The Embassy of the Islamic Republic of Iran very sincerely greets the Honourable Ministry
    of People's Power for Foreign Relations of the Bolivarian Republic of Venezuela, Office of the Vice
    Minister for Asia, the Middle East and Oceania, and in consideration of the official visit of the envoy
    of the Government of the Bolivarian Republic of Venezuela to our country, the Distinguished Mr.
    Alex Nain Saab Moran, in order to advance the issue of food imports, is pleased to inform that the
    IRAN GARMENT company has expressed its agreement with the dates of 13th – 16th June for said visit.
            Likewise, regarding the urgent shipment of some medicines to the Bolivarian Republic of
    Venezuela, the first list has already been analysed by the most prominent laboratories in our country,
    please inform that the General Managers of these laboratories, under the guidance of the greatest
    possible support, have been summoned to a meeting with the Distinguished. Mr. Saab for today, 15th
    June.
            At the end it is very kindly requested that due to time constraints, we be sent the second list of
    the most needed drugs in the country, detailing the necessary quantity in quarterly periods for the
    respective evaluation by the Iranian laboratories.
            The Embassy of the Islamic Republic of Iran offers the opportunity to reiterate to the
    Honourable Minister of People's Power for Foreign Relations of the Bolivarian Republic of Venezuela,
    Office of the Vice Minister for Asia, the Middle East and Oceania, the attestation and proof of its highest
    esteem and distinguished consideration.


                                                                           Caracas, eighth (8th) of June 2020
                                                           (Stamp) Embassy of the Islamic Republic of Iran
                                                                                                - Caracas



    To the Honourable:
    Ministry of People's Power for Foreign Relations of the Bolivarian Republic of Venezuela
    Office of the Vice Minister for Asia, the Middle East and Oceania.


                       Urb Valle Arriba, Calle Raraima, Qta Axadi, Caracas, Venezuela
                       Tel: (0058) 2120 992 35 72 992 18 54 Fax: (0058-212) 992 99 89




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